20-12345-mg                Doc 2399             Filed 08/17/23 Entered 08/17/23 18:51:02                                    Main Document
                                                            Pg 1 of 27


    REED SMITH LLP                                                            REED SMITH LLP
    Aaron Javian, Esq.                                                        Timothy P. Law, Esq. (admitted pro hac vice)
    John B. Berringer, Esq.                                                   1717 Arch Street
    599 Lexington Avenue                                                      Three Logan Square, Suite 3100
    New York, NY 10022                                                        Philadelphia, PA 19103
    Telephone: (212) 521-5400                                                 Telephone: (215) 851-8100
    Facsimile: (212) 521-5450                                                  Facsimile: (215) 851-1420
    E-mail: ajavian@reedsmith.com                                             E-mail: tlaw@reedsmith.com
    E-mail: jberringer@reedsmith.com
                                                                              Special Insurance Counsel for Debtor
                                                                              and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                          :
    In re:                                                                :          Chapter 11
                                                                          :
    THE ROMAN CATHOLIC DIOCESE OF                                         :          Case No. 20-12345 (MG)
    ROCKVILLE CENTRE, NEW YORK,1                                          :
                                                                          :
                           Debtor.                                        :
                                                                          :

      THIRTY-FOURTH MONTHLY STATEMENT OF REED SMITH LLP, AS
SPECIAL INSURANCE COUNSEL FOR THE DEBTOR AND DEBTOR IN POSSESSION,
             OF FEES FOR PROFESSIONAL SERVICES RENDERED AND
                 DISBURSEMENTS INCURRED FOR THE PERIOD
                      JULY 1, 2023 THROUGH JULY 31, 2023

    Name of Applicant:                                                         Reed Smith LLP

    Authorized to Provide Professional Services                                Debtor and Debtor in Possession
    to:

    Date of Retention:                                                         Order entered on November 4, 2020,
                                                                               nunc pro tunc to October 1, 2020

    Period for which compensation and                                          July 1, 2023 to July 31, 2023
    reimbursement is sought:


    Amount of Compensation sought as actual,                                   $247,922.00
    reasonable and necessary:
                                                                               80% of which is $198,337.60


1
    The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four digits of its federal tax
identification number are 7437, and its mailing address is 50 North Park Avenue P.O. Box 9023, Rockville Centre, NY 11571-9023.
20-12345-mg               Doc 2399            Filed 08/17/23 Entered 08/17/23 18:51:02                   Main Document
                                                          Pg 2 of 27



 Amount of Expense Reimbursement sought as
 actual, reasonable and necessary:                                           $983.97

 Fees and Expenses of Debtor’s Consulting
 Expert (“Expert F&E”)                                                       $23,029.502

 TOTAL (80% of fees, 100% of costs, 100% of
 Expert F&E)                                                                 $222,351.07


             Reed Smith LLP (“Reed Smith”), as Special Insurance Counsel for the Debtor and Debtor-

In Possession, hereby submits this thirty-fourth monthly statement (the “Monthly Statement”) for

the period of July 1, 2023 through July 31, 2023 (the “Statement Period”) for payment of

professional services rendered and reimbursement of expenses incurred during the Statement Period

pursuant to the Court’s Order Authorizing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [Dkt. No. 129] (the “Fee Procedures Order”). Reed

Smith requests: (a) interim allowance and payment of compensation in the amount of $198,337.60

(80% of $247,922.00) of fees on account of reasonable and necessary professional services rendered

to the Debtor by Reed Smith, (b) reimbursement of actual and necessary costs and expenses in the

amount of $983.97 incurred by Reed Smith during the Statement Period, and (c) reimbursement for

services rendered, and costs and expenses incurred, by Debtor’s consulting expert in the amount of

$23,029.50.

                   FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

             1.         Set forth below is a list of the positions of the Reed Smith professionals and

paraprofessionals who provided services to the Debtor during the Statement Period, their respective

billing rates, and the aggregate hours spent by each professional and paraprofessional in providing

services on behalf of the Debtor during the Statement Period.


 2
     Submitted for payment pursuant to Order Authorizing the Retention of Experts [Dkt. No. 783], ¶ 3.




                                                                         2
20-12345-mg               Doc 2399                  Filed 08/17/23 Entered 08/17/23 18:51:02                             Main Document
                                                                Pg 3 of 27


             Name                      Title               Department                   Office       JD Year   Rate    Hours      Amount


 Law, Timo thy                    Equity P artner            Litigatio n             P hiladelphia    1995     1,250    23.1          $ 28,875.00

 Javian, A aro n                  Fix.Sh.P artner      B usiness and Finance          New Yo rk       2004     1,215     4.6           $ 5,589.00

 Kramer, A nn                     Fix.Sh.P artner            Litigatio n              New Yo rk       1984     1,390    37.7          $ 52,403.00

 B erringer, Jo hn                   Co unsel               Litigatio n               New Yo rk       1980     1,285    76.0          $ 97,660.00

 Kim, Esther Y.                     A sso ciate              Litigatio n             P hiladelphia    2018     685      56.6           $ 38,771.00

 LauKamg, Christo pher               P aralegal        B usiness and Finance          New Yo rk         -      410      35.4           $ 14,514.00

 Zygmund-Felt, Geo rgia A .          P aralegal             Litigatio n              P hiladelphia      -      380       4.5             $ 1,710.00

 Schad, James                          Other                Litigatio n              Washingto n        -      600      14.0           $ 8,400.00

                                                                                                                       2 5 1.9   $ 2 4 7 ,9 2 2 .0 0



                                                                                                                       2 5 1.9   $ 2 4 7 ,9 2 2 .0 0
 TOTAL:

             2.          The rates charged by Reed Smith for services rendered to the Debtor are the same

rates that it charges generally for professional services rendered to its non-bankruptcy clients as

described in the engagement letter between Reed Smith and the Debtor. A complete itemization of

tasks performed by these professionals and paraprofessionals for the Statement Period is annexed

hereto as Exhibit A.


                               EXPENSES INCURRED DURING THE STATEMENT PERIOD

             3.          Set forth below is a categorical list of expenses incurred by Reed Smith during the

Statement Period in the course of representing the Debtor.



                              Description                                  Amount
 Duplicating/P rinting/Scanning                                                    $ 94.20

 USDC SDNY June 15, 2023 and June 16, 2023 Hearing Transcript                    $ 329.28
 Expense
 Gravity Stack M ay 2023 Do cument P ro ductio n Fee                              $ 234.15

 USDC SDNY June 1, 2023 Hearing Transcript Expense                               $ 326.34

 TOTA L:                                                                       $ 9 8 3 .9 7




                                                                            3
20-12345-mg      Doc 2399     Filed 08/17/23 Entered 08/17/23 18:51:02            Main Document
                                          Pg 4 of 27




                       NOTICE AND OBJECTION PROCEDURES

       4.       Reed Smith has provided notice of this statement upon the following parties by

electronic or first class mail: (i) the Debtor, the Roman Catholic Diocese of Rockville Centre, 50 N.

Park Avenue, P.O. Box 9023, Rockville Centre, NY 11571 (Attn: Thomas Renker); (ii) counsel to

the Debtor, Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin

Rosenblum, Esq. and Andrew M. Butler, Esq.); (iii) the Office of the United States Trustee Region

2, Alexander Hamilton Custom House, One Bowling Green, Suite 534, New York, NY 10004 (Attn:

Greg Zipes, Esq. and Shara Cornell, Esq.); and (iv) counsel for the Official Committee of Unsecured

Creditors, Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New York, NY 10017

(Attn: Ilan D. Scharf, Esq., Karen B. Dine, Esq. and Brittany M. Michael, Esq.) and Pachulski Stang

Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067 (Attn: James I.

Stang, Esq.).

       5.       Pursuant to the Fee Procedures Order, objections to this Monthly Statement, if any,

must be served no later than September 1, 2023 (the “Objection Deadline”) upon the following

parties: (i) the Debtor, the Roman Catholic Diocese of Rockville Centre, 50 N. Park Avenue, P.O.

Box 9023, Rockville Centre, NY 11571 (Attn: Thomas Renker); (ii) counsel to the Debtor, Jones

Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq.

and Andrew M. Butler, Esq.); (iii) the Office of the United States Trustee Region 2, Alexander

Hamilton Custom House, One Bowling Green, Suite 534, New York, NY 10004 (Attn: Greg Zipes,

Esq. and Shara Cornell, Esq.); (iv) counsel for the Official Committee of Unsecured Creditors,

Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New York, NY 10017 (Attn:

Ilan D. Scharf, Esq., Karen B. Dine, Esq. and Brittany M. Michael, Esq.) and Pachulski Stang Ziehl




                                                4
20-12345-mg     Doc 2399      Filed 08/17/23 Entered 08/17/23 18:51:02            Main Document
                                          Pg 5 of 27



& Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067 (Attn: James I. Stang,

Esq.); and (v) Special Insurance Counsel, Reed Smith LLP, 599 Lexington Avenue, New York, NY

10022 (Attn: Aaron Javian, Esq. and John B. Berringer, Esq.) and Reed Smith LLP, 1717 Arch

Street, Three Logan Square, Suite 3100, Philadelphia, PA 19103 (Attn: Timothy P. Law, Esq.).

       6.      If no objections to this Monthly Statement are received by the Objection Deadline,

the Debtor will be authorized thereafter to pay Reed Smith 80% of the fees and 100% of the expenses

identified in the Monthly Statement as well as 100% of the Expert F&E.

       7.      To the extent an objection to the Monthly Statement is received on or before the

Objection Deadline, the Debtor will withhold payment of that portion of the Monthly Statement to

which the objection is directed and is authorized to pay the remainder of fees and expenses in the

percentages set forth above. To the extent such objection is not resolved, it shall be preserved and

presented to the Court at the next interim or final fee application hearing to be heard in accordance

with paragraph 2(k) of the Fee Procedures Order.




                                                5
20-12345-mg   Doc 2399      Filed 08/17/23 Entered 08/17/23 18:51:02         Main Document
                                        Pg 6 of 27




Dated: August 17, 2023
       New York, New York
                                        REED SMITH LLP

                                         /s/ Aaron Javian
                                         Aaron Javian, Esq.
                                         John B. Berringer, Esq.
                                         599 Lexington Avenue
                                         New York, NY 10022
                                         Telephone: (212) 521-5400
                                         Facsimile: (212) 521-5450
                                         E-mail: ajavian@reedsmith.com
                                         E-mail: jberringer@reedsmith.com

                                         -and-

                                         REED SMITH LLP
                                         Timothy P. Law, Esq. (admitted pro hac vice)
                                         1717 Arch Street
                                         Three Logan Square, Suite 3100
                                         Philadelphia, PA 19103
                                         Telephone: (215) 851-8100
                                         Facsimile: (215) 851-1420
                                         E-mail: tlaw@reedsmith.com

                                         Special Insurance Counsel for Debtor and
                                         Debtor in Possession




                                           6
20-12345-mg   Doc 2399   Filed 08/17/23 Entered 08/17/23 18:51:02   Main Document
                                     Pg 7 of 27




                  EXHIBIT A
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                     Main Document
                                                                         Pg 8 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3641885
        50 No. Park Avenue                                                                                   Invoice Date:                                 8/15/2023
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.60005
        US - UNITED STATES


                                                                           REMITTANCE PAGE
                                                PLEASE RETURN THIS COPY WITH YOUR PAYMENT

        RE: Chapter 11 Insurance Recovery




        Total Current Fees...............................................................................................$                                       233,559.00

        Total Current Expenses and Other Charges .......................................................$                                                                983.97

                                  Total Due This Invoice:                                                                                             $          234,542.97




        Please Remit to:
                                                  Mail To:                                                      Wire Instructions:
                                                  Reed Smith LLP                                                BNY Mellon Bank N.A.
                                                  P.O. Box 360110                                               Philadelphia, PA
                                                  Pittsburgh, PA 15251-6110                                    ABA Number: 031000037
                                                                                                               Swift Code: IRVTUS3N (International)
                                                                                                               Account #2-022-986
                                                                                                               (Please Reference Invoice Number)
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                     Main Document
                                                                         Pg 9 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3641885
        50 No. Park Avenue                                                                                   Invoice Date:                                 8/15/2023
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.60005
        US - UNITED STATES




        RE: Chapter 11 Insurance Recovery


                                                                           INVOICE SUMMARY

        Total Current Fees...............................................................................................$                                       233,559.00

        Total Current Expenses and Other Charges .......................................................$                                                                983.97

                                  Total Due This Invoice:                                                                                             $          234,542.97




        Please Remit to:
                                                  Mail To:                                                      Wire Instructions:
                                                  Reed Smith LLP                                                BNY Mellon Bank N.A.
                                                  P.O. Box 360110                                               Philadelphia, PA
                                                  Pittsburgh, PA 15251-6110                                    ABA Number: 031000037
                                                                                                               Swift Code: IRVTUS3N (International)
                                                                                                               Account #2-022-986
                                                                                                               (Please Reference Invoice Number)
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 10 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3641885
        50 No. Park Avenue                                                                                   Invoice Date:                                 8/15/2023
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.60005
        US - UNITED STATES



        DETAIL FOR PROFESSIONAL SERVICES RENDERED THROUGH July 31, 2023

         Date                Timekeeper                            Description                                                                                          Hours

         07/03/23            T.P. Law                              Address motion to redact transcript to remove                                                            0.80
                                                                   settlement discussions.
         07/05/23            J.B. Berringer                        Team telephone conference (1.0); call with                                                               2.40
                                                                   mediators, LMI (.80); review of UCC Motion in
                                                                   limine (.60).
         07/05/23            A. Kramer                             Work in process call with client, A&M, JD and RS                                                         3.30
                                                                   teams (.50); mediation call with LMI, RS and JD
                                                                   teams (1.20); review MTD filings (1.60).
         07/05/23            T.P. Law                              Partial participation in meeting with mediators and                                                      0.50
                                                                   LMI.
         07/06/23            J.B. Berringer                        Review LMI letter re: Moore claim (.40); email W.                                                        1.60
                                                                   Chapin re: same (.10); review KCIC article re
                                                                   Arrowood (.60); telephone conference with D.
                                                                   Artese re: Cave Order, Ferraro docs (.50).
         07/06/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      1.00
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/06/23            C.M. LauKamg                          Finalize, electronically file and serve USDC                                                             0.80
                                                                   SDNY Motion to Redact Transcript and update
                                                                   master files and calendar.
         07/07/23            E. Y. Kim                             Analyze policy documents in the Diocese's                                                                2.60
                                                                   production for response to Arrowood's deficiency
                                                                   letter (2.20); revise response letter to Arrowood's
                                                                   deficiency letter regarding production of policy
                                                                   documents and paper claim files (.40).
         07/07/23            J.B. Berringer                        Review emails re: mediation sessions.                                                                    0.40




        File No. 504893.60005                                          Invoice No. 3641885                                                                           Page 1
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 11 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

         07/07/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      1.00
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/07/23            J.C. Schad                            Attention to production of documents, discuss                                                            2.40
                                                                   document sources, time line, review, retrieval with
                                                                   E. Kim, transmit certain materials (2.10);
                                                                   research, discussion with A. Koss re: Arrowood
                                                                   response letter (.30).
         07/10/23            E. Y. Kim                             Analyze privileged and first notice documents in                                                         3.30
                                                                   the Diocese's production to revise response to
                                                                   Arrowood's deficiency letter (2.80); draft follow up
                                                                   items needed to finalize deficiency letter (.50).
         07/10/23            A. Kramer                             Listen to portions of motion to dismiss hearing.                                                         1.80
         07/10/23            T.P. Law                              Review and revise draft response to Arrowood's                                                           1.80
                                                                   discovery letter.
         07/10/23            J.B. Berringer                        Review Moffitt letter to UCC (.10); review T. Law                                                        1.30
                                                                   email re: Arrowood discovery (.10); review E. Kim
                                                                   email to Renker re: Arrowood discovery (.20);
                                                                   review of draft letter to Arrowood (.50); revisions
                                                                   to draft letter and emails re: same (.40).
         07/10/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      1.00
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/11/23            E. Y. Kim                             Analyze privileged and first notice documents in                                                         3.60
                                                                   the Diocese's production to revise response to
                                                                   Arrowood's deficiency letter for J. Berringer and
                                                                   T. Law review (2.60); call with J. Berringer
                                                                   regarding strategy for response letter (.50); call
                                                                   with T. Law regarding strategy for same (.30); call
                                                                   with W. Chapin regarding document collection
                                                                   regarding Diocese's productions for response
                                                                   letter (.20).
         07/11/23            A. Kramer                             Listen to MTD hearing and email exchange with                                                            3.20
                                                                   C. Ball re: Arrowood financials.
         07/11/23            T.P. Law                              Telephone conference with Esther Kim re:                                                                 0.40




        File No. 504893.60005                                          Invoice No. 3641885                                                                           Page 2
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 12 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

                                                                   response letter to discovery disputes.
         07/11/23            J.B. Berringer                        Review of emails re: Arrowood discovery (.50);                                                           6.00
                                                                   telephone conference with E. Kim re: same (.60);
                                                                   review of Ferraro docs from Diocese of Brooklyn
                                                                   and email T. Law re: same (1.80); email C.
                                                                   Adams re: depositions and review of reply (.30);
                                                                   review of Placa docs (2.80).
         07/11/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/12/23            A. Kramer                             Review email exchange with LMI re: mediation                                                             1.70
                                                                   (.20); work in process call with JD and RS teams
                                                                   re: motion to dismiss hearing, next steps with
                                                                   UCC (1.10); conference call with Law and
                                                                   Berringer re: Arrowood/Security Fund issues
                                                                   (.40).
         07/12/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/12/23            J.C. Schad                            Respond to request for historic insurance policy                                                         0.40
                                                                   materials from E. Kim.
         07/12/23            T.P. Law                              Participate in work in process call with Reed                                                            1.00
                                                                   Smith and Jones Day Teams.
         07/12/23            T.P. Law                              Follow up teleconference with A. Kramer and J.                                                           0.40
                                                                   Berringer re: Arrowood litigation funding.
         07/12/23            T.P. Law                              Telephone conference with Unsecured Creditors                                                            0.80
                                                                   Committee and Jones Day re: Arrowood litigation
                                                                   funding.
         07/12/23            T.P. Law                              Review and approve joint letter on Brooklyn                                                              0.40
                                                                   response to subpoena after consulting with J.
                                                                   Berringer.
         07/12/23            T.P. Law                              Email exchanges with E. Kim re: efforts to finish                                                        0.30
                                                                   response to Arrowood's discovery letter.
         07/12/23            J.B. Berringer                        Review of draft letter to MJ Cave re: Diocese of                                                         5.20



        File No. 504893.60005                                          Invoice No. 3641885                                                                           Page 3
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 13 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

                                                                   Brooklyn docs (.20); email T. Law re: same (.10)
                                                                   team call, follow-up call with T. Law, A. Kramer
                                                                   (1.60); review of Placa docs (2.50); review and
                                                                   respond to W. Chapin email re: defense costs
                                                                   and LMI (.80).
         07/13/23            J.C. Schad                            Review, revise, submit for E. Kim review                                                                 0.80
                                                                   response to Arrowood's interrogatories (.30);
                                                                   review materials to prepare report to E. Kim re:
                                                                   broker background (.50).
         07/13/23            T.P. Law                              Provide redacted non-disclosure agreement to                                                             0.30
                                                                   Jones Day to provide to the UCC.
         07/13/23            T.P. Law                              Review draft LMI interrogatories.                                                                        0.80
         07/13/23            G. A. Zygmund-                        Redact NDA for T. Law and return for review.                                                             0.20
                             Felt
         07/13/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/13/23            J.B. Berringer                        Review emails re mediation session (.40); review,                                                        2.30
                                                                   revise interrogatories, doc. demands re: LMI,
                                                                   Evanston (1.60); telephone conference with E.
                                                                   Kim re: same (.30).
         07/14/23            A. Kramer                             Conference call with C. Ball and B. Rosenblum                                                            0.50
                                                                   re: mediation issues, Arrowood claims (.40);
                                                                   email exchange with Berringer and Law re:
                                                                   telecon with C. Ball (.10).
         07/14/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/14/23            C.M. LauKamg                          Telephone and email to USDC SDNY Clerks                                                                  0.40
                                                                   Office regarding Redacted Transcript efiling
                                                                   procedures and efile same.
         07/14/23            J.B. Berringer                        Review OF P.O., Ferraro docs (1.90); emails T.                                                           6.30
                                                                   Law, E. Stephens re: same (.40); email to T. Law
                                                                   re: Placa docs (.20); email C. Adams re: same




        File No. 504893.60005                                          Invoice No. 3641885                                                                           Page 4
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 14 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

                                                                   (.40); review of Arrowood Ans. re: Request to
                                                                   Admit (.50); review of A. Kramer emails re:
                                                                   Burford and email T. Law re: same (.30); email C.
                                                                   Adams re: Placa prep. (.60); review W. Chapin
                                                                   email re: Arrowood RFI (.50); emails W. Chapin,
                                                                   E. Stephens re: same (.40); review article re: Boy
                                                                   Scout Plan (.60); review docket entries re: case
                                                                   (.50).
         07/17/23            T.P. Law                              Review and finalize discovery request for LMI and                                                        2.80
                                                                   Evanston.
         07/17/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/17/23            J.B. Berringer                        Meeting with JD, client and LMI counsel.                                                                 8.00
         07/17/23            A. Kramer                             Mediation session with LMI.                                                                              8.10
         07/17/23            E. Y. Kim                             Revise and finalize discovery requests to LMI and                                                        3.40
                                                                   Evanston per T. Law's comments.
         07/18/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/18/23            J.B. Berringer                        Telephone conference with T. Law re:                                                                     3.90
                                                                   [REDACTED] (.40); review emails re: discovery
                                                                   issues in Adv. Proceedings (.50); review
                                                                   discovery demands from Evanston, LMI (.90);
                                                                   review LMI letter re: CHDLI claim, emails B.
                                                                   Davey, W. Chapin re: same (.60); prep. for and
                                                                   attendance on mediator call with Allianz (1.50).
         07/18/23            T.P. Law                              Follow up with E. Stephens re: questions related                                                         0.30
                                                                   to Arrowood discovery requests.
         07/18/23            T.P. Law                              Attend virtual meeting with mediators and Allianz.                                                       1.00
         07/18/23            A. Kramer                             Work with KCIC re: LMI allocations (2.70); email                                                         5.40
                                                                   exchanges and telephone calls with KCIC and JD
                                                                   teams re: same (.70); email exchanges with LMI
                                                                   team re: allocations etc. (.80); Zoom call with




        File No. 504893.60005                                          Invoice No. 3641885                                                                           Page 5
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 15 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

                                                                   mediators and Allianz team re: settlement
                                                                   strategy (1.20).
         07/19/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/19/23            J.C. Schad                            Communications with E. Kim re: protected                                                                 0.20
                                                                   medical information.
         07/19/23            T.P. Law                              Attend virtual meeting with LMI re: potential for                                                        0.80
                                                                   settlement.
         07/19/23            T.P. Law                              Emails with J. Berringer, A. Kramer, and A. Butler                                                       0.40
                                                                   re: potential settlement with LMI.
         07/19/23            T.P. Law                              Telephone conference with Unsecured Creditors                                                            0.60
                                                                   Committee re: potential for settlements.
         07/19/23            T.P. Law                              Video conference with [REDACTED].                                                                        0.40
         07/19/23            T.P. Law                              Email to T. Renker re: additional documents for                                                          0.20
                                                                   production.
         07/19/23            T.P. Law                              Review Judge Glenn's decision denying motion to                                                          0.30
                                                                   dismiss.
         07/19/23            T.P. Law                              Review Arrowood's responses to Diocese request                                                           0.30
                                                                   for admission.
         07/19/23            T.P. Law                              Review A. Kramer email re: meeting with                                                                  0.30
                                                                   insurance counsel for the Unsecured Creditors
                                                                   Committee and supplement with my thoughts.
         07/19/23            E. Y. Kim                             Revise and finalize response letter to Arrowood's                                                        7.50
                                                                   deficiency letter (1.0); revise and finalize exhibit A
                                                                   to supplemental responses to Arrowood's duty to
                                                                   defend document demands (1.80); revise
                                                                   redaction log for February 3, 2023 production
                                                                   (.40); revise privilege log for February 3, 2023
                                                                   production (.20); analyze documents relating to
                                                                   first notice of claims for supplemental production
                                                                   (2.80); draft cover letter for same (.40); draft
                                                                   redaction log for same (.90).
         07/19/23            A. Kramer                             Work in process call with Renker, Fasano, JD                                                             8.20




        File No. 504893.60005                                          Invoice No. 3641885                                                                           Page 6
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 16 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

                                                                   and RS Teams re: motion to dismiss ruling,
                                                                   mediation strategy (1.0); negotiation with LMI
                                                                   (5.50) ; meeting with Comm insurance counsel
                                                                   and T. Law (1.0); draft notes of meeting for JD
                                                                   Team (.20); communications with client and JD
                                                                   Team re: LMI negotiations (.20); telephone
                                                                   conversation Sugayan re: negotiations (.30).
         07/20/23            J.C. Schad                            Review historic claims documents re: potentially                                                         0.60
                                                                   protected medical information for report to E. Kim.
         07/20/23            J.B. Berringer                        Review Order denying Motion to Dismiss (.60);                                                            2.70
                                                                   review emails re: discussions with LMI (.40);
                                                                   review new pleading in Del. Diocese of Brooklyn
                                                                   case and email A. Kramer re: same (.80); review
                                                                   A. Kramer memo re: meeting with UCC Insurance
                                                                   counsel (.40); review BSA complaint vs. non-
                                                                   settling insurers (.50).
         07/20/23            T.P. Law                              Email re: meeting with insurance counsel for the                                                         0.30
                                                                   Unsecured Creditors Committee.
         07/20/23            A. Kramer                             Draft summary for clients of negotiations (1.20);                                                        1.80
                                                                   email exchange with JD and client re: same (.20);
                                                                   review BSA Trustee complaint against insurers
                                                                   (.20); review amended filings in Brooklyn case
                                                                   against DE insurance commissioner (.20).
         07/20/23            E. Y. Kim                             Draft responses and objections to LMI phase 1                                                            4.10
                                                                   interrogatories (2.60); analyze Diocese Royal
                                                                   claim file documents regarding personal health
                                                                   information for supplemental production (1.50).
         07/21/23            J.B. Berringer                        Review Placa docs (2.50); review email re: LMI                                                           5.00
                                                                   discussions (.40) review Davey letter re: CHS
                                                                   claims (.40); attendance on call with Arrowood,
                                                                   mediators (.60); review of outline for Chapin dep.,
                                                                   prep for deposition and emails re: same (1.10).
         07/21/23            G. A. Zygmund-                        Draft Responses to London Market Insurers' First                                                         2.60
                             Felt                                  Set of Phase 1 Interrogatories to the Plaintiff.
         07/21/23            G. A. Zygmund-                        Draft Responses to Evanston First Set of Phase 1                                                         1.70
                             Felt                                  Interrogatories to the Plaintiff.
         07/21/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      0.80




        File No. 504893.60005                                          Invoice No. 3641885                                                                           Page 7
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 17 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/21/23            T.P. Law                              Review correspondence from insurance counsel                                                             0.20
                                                                   for the Unsecured Creditors Committee and
                                                                   suggest response.
         07/21/23            A. Kramer                             Review message from Sugayan re: LMI                                                                      1.10
                                                                   negotiations (.20); teams call with mediator and
                                                                   Arrowood re settlement discussions (.60);
                                                                   telephone conversation and email exchange with
                                                                   J. Berringer re: same (.10); review letter from
                                                                   Burns re: insurer settlement discussions (.20).
         07/21/23            E. Y. Kim                             Draft responses and objections to LMI's phase 1                                                          2.80
                                                                   document requests.
         07/24/23            A. Kramer                             Review/revise draft response to Committee letter                                                         0.50
                                                                   (.20); email exchanges with JD and RS teams re:
                                                                   same (.20); review reports re: Rochester
                                                                   settlement (.10).
         07/24/23            T.P. Law                              Draft letter to Unsecured Creditors Committee                                                            2.20
                                                                   insurance counsel T. Burns in response to
                                                                   correspondence about potential settlements with
                                                                   insurance companies.
         07/24/23            T.P. Law                              Revise letter to T. Burns to reflect comments from                                                       0.40
                                                                   Jones Day and Reed Smith lawyers.
         07/24/23            E. Y. Kim                             Analyze court hearing transcript to draft                                                                4.50
                                                                   responses and objections to Evanston's
                                                                   discovery requests (.80): draft responses and
                                                                   objections to Evanston's document requests
                                                                   (1.30); draft responses and objections to
                                                                   Evanston's interrogatories (1.20); analyze court
                                                                   hearing transcript to draft responses and
                                                                   objections to LMI's discovery requests (.70);
                                                                   confer with J. Schad regarding same (.50).
         07/24/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.




        File No. 504893.60005                                          Invoice No. 3641885                                                                           Page 8
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 18 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

         07/24/23            J.C. Schad                            Research insurer requests to discuss discovery                                                           2.20
                                                                   responses with E. Kim (.90); review, discuss with
                                                                   E. Kim (.50); research re: certain terms used in
                                                                   insurer requests (.80).
         07/24/23            J.B. Berringer                        Review of draft reply to UCC Ins. counsel letter                                                         1.90
                                                                   (.40); review emails re: same (.40); email T. Law
                                                                   re: Interrogatories, review T. Law reply (.40);
                                                                   review D. Artese emails (.20); review T. Geremia
                                                                   comments re: reply to UCC counsel letter (.20);
                                                                   email to C. Adams re: Placa deposition (.30).
         07/25/23            E. Y. Kim                             Analyze documents responsive to LMI's                                                                    4.20
                                                                   document requests to draft responses to same
                                                                   (1.80); draft notes for client regarding same (.50);
                                                                   analyze documents responsive to Evanston's
                                                                   document requests (1.50); draft notes for client
                                                                   regarding same (.40).
         07/25/23            T.P. Law                              Video-conference with [REDACTED].                                                                        0.50
         07/25/23            J.B. Berringer                        Review, reply to Schad email re: Arrowood                                                                3.60
                                                                   discovery (.60); telephone conference with Parish
                                                                   insurance counsel (.50); prep for Arrowood
                                                                   depositions (2.50).
         07/25/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/25/23            J.C. Schad                            Review, notate, record insurers' RFPs, RFIs,                                                             5.80
                                                                   transcripts, Scheduling Orders, amended
                                                                   complaint (4.20); communications with E. Kim, J.
                                                                   Berringer (.40); research, analyze and notate file
                                                                   materials re: categorical descriptions (1.20).
         07/26/23            A. Kramer                             Work in process call with JD, RS and A&M teams                                                           1.20
                                                                   re: settlement discussions, removal/remand
                                                                   process in CVA cases etc. (.60); draft note to
                                                                   mediators re: letters exchanged with committee
                                                                   (.20); review of insurers merits brief to 3rd Cir in
                                                                   BSA (.40).
         07/26/23            J.C. Schad                            Analyze and discuss with E. Kim responses to                                                             1.60




        File No. 504893.60005                                          Invoice No. 3641885                                                                           Page 9
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 19 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

                                                                   insurers' discovery requests, Court's Order and
                                                                   categorical descriptions (.80); review Evanston
                                                                   discovery request for report to E. Kim (.60);
                                                                   attention to response to request from J. Berringer
                                                                   (.20).
         07/26/23            E. Y. Kim                             Draft notes for client regarding Evanston's                                                              4.30
                                                                   interrogatories (.80); draft notes for client
                                                                   regarding LMI's interrogatories (.60); analyze
                                                                   additional claim file for supplemental production
                                                                   to Arrowood (1.60); revise discovery responses to
                                                                   LMI's document requests (1.30).
         07/26/23            T.P. Law                              Participate in work in process call with Reed                                                            0.70
                                                                   Smith and Jones Day teams.
         07/26/23            T.P. Law                              Finalize and send letter to T. Burns.                                                                    0.20
         07/26/23            T.P. Law                              Review correspondence from LMI to T. Burns.                                                              0.20
         07/26/23            J.B. Berringer                        Prep. for, attendance on Team telephone                                                                  6.60
                                                                   conference (.80); prep for Chapin deposition,
                                                                   review of docs re: notice to Arrowood (3.90);
                                                                   arrangements for meeting with team re: new
                                                                   notice docs (.50); review, respond to emails re: E.
                                                                   Puglisi (.80); review Mercy Hosp. and docs,
                                                                   emails E. Kim re: same (.60).
         07/27/23            A. Kramer                             Conference call with Berringer, Law and Kim re:                                                          0.50
                                                                   Arrowood discovery issues and Chapin
                                                                   deposition.
         07/27/23            E. Y. Kim                             Analyze documents from client relating to notice                                                         2.50
                                                                   of specific claims to Arrowood for supplemental
                                                                   production (.80); call with T. Law, J. Berringer and
                                                                   A. Kramer regarding response to Arrowood's
                                                                   deficiency letter and supplemental production
                                                                   (.50); revise Rule 30(b)(6) Arrowood deposition
                                                                   notice (1.20).
         07/27/23            J.B. Berringer                        Review Arrowood letter, emails E. Kim, W.                                                                6.00
                                                                   Chapin re: same (1.40); prep for, attendance on
                                                                   telephone conference with E. Kim, A. Kramer, T.
                                                                   Law re: new notice docs and Arrowood letter
                                                                   (1.20); review of docs re: Compasso, Missbach




        File No. 504893.60005                                          Invoice No. 3641885                                                                        Page 10
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 20 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

                                                                   claims (1.80); review emails from W. Chapin re:
                                                                   same (.80); review emails re: Puglisi (.20); emails
                                                                   Chapin re new docs (.60).
         07/27/23            T.P. Law                              Telephone conference re: documents to be                                                                 0.50
                                                                   produced to Arrowood.
         07/28/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      1.00
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/28/23            E. Y. Kim                             Draft and finalize amended supplemental                                                                  6.50
                                                                   responses to Arrowood's duty to defend
                                                                   discovery requests (1.40); analyze documents
                                                                   from client relating to notice of certain claims to
                                                                   Arrowood to finalize supplemental production
                                                                   (3.20); draft cover letter for production (.40); draft
                                                                   response letter to Arrowood's deficiency letter
                                                                   (1.50).
         07/28/23            J.B. Berringer                        Email re NY late notice law, review of replies                                                           6.20
                                                                   (.90); email E. Stephens re: Compasso, Missbach
                                                                   claims (.40); review T. Law, E. Kim emails re:
                                                                   Arrowood dep. notices (.40); review Chapin
                                                                   emails, GB docs re: pre-CVA claims with
                                                                   Arrowood (1.80); email to W. Chapin re:
                                                                   Arrowood discovery (.30); further prep. for Chapin
                                                                   dep. (1.10); review Chapin Ex. 1 and prepare
                                                                   notes (.50); review and respond to Kim emails re:
                                                                   Supp. production to Arrowood (.80).
         07/29/23            E. Y. Kim                             Revise Rule 30(b)(6) Arrowood deposition notice                                                          2.60
                                                                   regarding late notice and duty to cooperate
                                                                   defenses (1.40); revise response letter to
                                                                   Arrowood regarding W. Chapin documents for J.
                                                                   Berringer's and T. Law's review (1.20).
         07/30/23            T.P. Law                              Revise draft letter to Arrowood's counsel A. Smith                                                       0.30
                                                                   re: discovery issues.
         07/30/23            J.B. Berringer                        Review, revise draft letter to Arrowood and                                                              1.10
                                                                   30(b)(6) Topics.
         07/31/23            E. Y. Kim                             Revise and finalize Rule 30(b)(6) Arrowood                                                               4.70




        File No. 504893.60005                                          Invoice No. 3641885                                                                        Page 11
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 21 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

                                                                   deposition notice per T. Law's comments (2.30);
                                                                   analyze and finalize additional documents for
                                                                   supplemental production (1.50); analyze
                                                                   documents relating to insurance newsletters and
                                                                   reporting policy for J. Berringer's review (.70);
                                                                   revise and finalize response letter to Arrowood
                                                                   regarding W. Chapin documents (.20).
         07/31/23            T.P. Law                              Revise notice of deposition to Arrowood.                                                                 0.80
         07/31/23            T.P. Law                              Prepare for meeting with B. Chapin and J.                                                                1.80
                                                                   Berringer to prepare for Chapin deposition.
         07/31/23            C.M. LauKamg                          Analyze USBC SDNY docket, USBC SDNY                                                                      0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
         07/31/23            J.B. Berringer                        Review, revise 30(b)(6) topics (.60); review GB                                                          5.50
                                                                   docs (1.50); prep for Chapin deposition (2.90);
                                                                   emails Chapin, Law re: same (.50).
         07/31/23            T.P. Law                              Review and approve summary for GuideOne.                                                                 0.10
         07/31/23            A. Kramer                             Telephone conference with C. Sugayan re:                                                                 0.40
                                                                   mediation.
         Total Hours                                                                                                                                                    225.90


        SUMMARY OF PROFESSIONAL SERVICES:

         Timekeeper                                                                                            Hours                         Rate                         Total
         Ann V. Kramer                                                                           37.70 hrs @ $                 1,390.00 / hr                      52,403.00
         John B. Berringer                                                                       76.00 hrs @ $                 1,285.00 / hr                      97,660.00
         Timothy P. Law                                                                          23.10 hrs @ $                 1,250.00 / hr                      28,875.00
         Esther Y. Kim                                                                           56.60 hrs @ $                    685.00 / hr                     38,771.00
         James C. Schad                                                                          14.00 hrs @ $                    600.00 / hr                       8,400.00
         Christopher LauKamg                                                                     14.00 hrs @ $                    410.00 / hr                       5,740.00
         Georgia A. Zygmund-Felt                                                                   4.50 hrs @ $                   380.00 / hr                       1,710.00




        File No. 504893.60005                                          Invoice No. 3641885                                                                        Page 12
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                     Main Document
                                                                        Pg 22 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                    Three Logan Square
                                                                                                                                                                              Suite 3100
                                                                                                                                                                        1717 Arch Street
                                                                                                                                                                 Philadelphia, PA 19103
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX


           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Timekeeper                                                                                            Hours                         Rate                         Total
         Total Professional Services                                                                                                                            233,559.00


        DISBURSEMENTS AND OTHER CHARGES

        Date                      Description                                                                                                                         Amount
                                  Duplicating/Printing/Scanning                                                              942.00 @ 0.10                                 94.20
        06/26/2023                USDC SDNY June 16, 2023 Hearing Transcript Expense                                                                                     137.20
        06/26/2023                USDC SDNY June 15, 2023 Hearing Transcript Expense.                                                                                    192.08
        07/06/2023                USDC SDNY June 1, 2023 Hearing Transcript Expense                                                                                      326.34
        07/27/2023                Gravity Stack May 2023 Document Production Fee                                                                                         234.15
                                  Total Expenses and Other Charges                                                                                                       983.97

        INVOICE SUMMARY

        Total Fees                                                                                                                                    $          233,559.00

        Total Expenses and Other Charges                                                                                                              $                  983.97

        TOTAL CURRENT INVOICE DUE                                                                                                                     $          234,542.97

                                  Total Amount Due                                                                                                    $          234,542.97




        File No. 504893.60005                                          Invoice No. 3641885                                                                        Page 13
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                     Main Document
                                                                        Pg 23 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                  599 Lexington Avenue
                                                                                                                                                                             22nd Floor
                                                                                                                                                                   New York, NY 10022
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX



           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3641890
        50 No. Park Avenue                                                                                   Invoice Date:                                 8/15/2023
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.60006
        US - UNITED STATES


                                                                           REMITTANCE PAGE
                                                PLEASE RETURN THIS COPY WITH YOUR PAYMENT

        RE: Fee statements/fee applications




        Total Current Fees...............................................................................................$                                         14,363.00

                                  Total Due This Invoice:                                                                                             $            14,363.00




        Please Remit to:
                                                Mail To:                                                         Wire Instructions:
                                                Reed Smith LLP                                                   BNY Mellon Bank N.A.
                                                Lockbox 10096                                                    Philadelphia, PA
                                                PO BOX 70280                                                     ABA Number: 031000037
                                                Philadelphia, PA 19176-0280                                      Swift Code: IRVTUS3N (International)
                                                                                                                 Account #2-022-986
                                                                                                                 (Please Reference Invoice Number)
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                     Main Document
                                                                        Pg 24 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                  599 Lexington Avenue
                                                                                                                                                                             22nd Floor
                                                                                                                                                                   New York, NY 10022
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX



           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3641890
        50 No. Park Avenue                                                                                   Invoice Date:                                 8/15/2023
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.60006
        US - UNITED STATES




        RE: Fee statements/fee applications


                                                                           INVOICE SUMMARY

        Total Current Fees...............................................................................................$                                         14,363.00

                                  Total Due This Invoice:                                                                                             $            14,363.00




        Please Remit to:
                                                Mail To:                                                         Wire Instructions:
                                                Reed Smith LLP                                                   BNY Mellon Bank N.A.
                                                Lockbox 10096                                                    Philadelphia, PA
                                                PO BOX 70280                                                     ABA Number: 031000037
                                                Philadelphia, PA 19176-0280                                      Swift Code: IRVTUS3N (International)
                                                                                                                 Account #2-022-986
                                                                                                                 (Please Reference Invoice Number)
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 25 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                  599 Lexington Avenue
                                                                                                                                                                             22nd Floor
                                                                                                                                                                   New York, NY 10022
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX



           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3641890
        50 No. Park Avenue                                                                                   Invoice Date:                                 8/15/2023
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.60006
        US - UNITED STATES



        DETAIL FOR PROFESSIONAL SERVICES RENDERED THROUGH July 31, 2023

         Date                Timekeeper                            Description                                                                                          Hours

         07/06/23            C.M. LauKamg                          Prepare, revise and edit USBC SDNY Reed                                                                  2.80
                                                                   Smith LLP Eighth Interim Fee Application in
                                                                   preparation for electronic filing.
         07/06/23            C.M. LauKamg                          Prepare, revise and edit USBC SDNY Reed                                                                  1.80
                                                                   Smith LLP Eighth Interim Fee Application in
                                                                   preparation for electronic filing.
         07/10/23            C.M. LauKamg                          Revise USBC SDNY Reed Smith LLP Eighth                                                                   1.60
                                                                   Interim Fee Application in preparation for
                                                                   electronic filing.
         07/11/23            A. Javian                             Attention to correspondence with C. LauKamg re:                                                          0.30
                                                                   interim fee application.
         07/11/23            C.M. LauKamg                          Revise USBC SDNY Reed Smith LLP Eighth                                                                   0.80
                                                                   Interim Fee Application in preparation for
                                                                   electronic filing.
         07/12/23            C.M. LauKamg                          Finalize USBC SDNY Certificate of No Objection                                                           0.40
                                                                   for Reed Smith LLP Thirty-Second Monthly Fee
                                                                   Statement in preparation for electronic filing.
         07/14/23            C.M. LauKamg                          Prepare USBC SDNY Reed Smith LLP Thirty-                                                                 1.00
                                                                   Third Monthly Fee Statement in preparation for
                                                                   electronic filing.
         07/17/23            A. Javian                             Attention to drafting and finalizing interim fee                                                         3.50
                                                                   application.
         07/17/23            C.M. LauKamg                          Finalize USBC SDNY Certificate of No Objection                                                           0.20
                                                                   for Reed Smith LLP Thirty-Second Monthly Fee
                                                                   Statement in preparation for electronic filing.
         07/17/23            C.M. LauKamg                          Finalize USBC SDNY Reed Smith LLP Eighth                                                                 0.40




        File No. 504893.60006                                          Invoice No. 3641890                                                                           Page 1
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                   Main Document
                                                                        Pg 26 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                  599 Lexington Avenue
                                                                                                                                                                             22nd Floor
                                                                                                                                                                   New York, NY 10022
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX



           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

                                                                   Interim Fee Application in preparation for
                                                                   electronic filing.
         07/17/23            C.M. LauKamg                          Finalize, electronically file and serve USBC                                                             0.80
                                                                   SDNY Certificate of No Objection for the May
                                                                   2023 Reed Smith LLP Monthly Fee Statement
                                                                   and update master files and calendar.
         07/17/23            C.M. LauKamg                          Finalize, electronically file and coordinate service                                                     1.00
                                                                   of USBC SDNY Reed Smith LLP Eighth Interim
                                                                   Fee Application and update master files and
                                                                   calendar.
         07/17/23            C.M. LauKamg                          Follow up with Epiq regarding service of USBC                                                            0.20
                                                                   SDNY Reed Smith LLP Eighth Interim Fee
                                                                   Application and circulate status of same.
         07/17/23            C.M. LauKamg                          Finalize USBC SDNY Reed Smith LLP Eighth                                                                 3.00
                                                                   Interim Fee Application in preparation for
                                                                   electronic filing.
         07/18/23            C.M. LauKamg                          Follow up with Epiq regarding service of USBC                                                            0.20
                                                                   SDNY Reed Smith LLP Eighth Interim Fee
                                                                   Application and update master files and calendar.
         07/18/23            C.M. LauKamg                          Follow up with Accounting Department regarding                                                           0.40
                                                                   USBC SDNY Reed Smith LLP Eighth Interim Fee
                                                                   Application LEDES Data and circulate same to
                                                                   the United States Trustee's Office.
         07/19/23            C.M. LauKamg                          Prepare and revise USBC SDNY Reed Smith                                                                  1.60
                                                                   LLP Thirty-Third Monthly Fee Statement in
                                                                   preparation for electronic filing.
         07/20/23            A. Javian                             Review monthly fee statement.                                                                            0.80
         07/20/23            C.M. LauKamg                          Revise USBC SDNY Reed Smith LLP Thirty-                                                                  0.60
                                                                   Third Monthly Fee Statement in preparation for
                                                                   electronic filing.
         07/21/23            C.M. LauKamg                          Revise USBC SDNY Reed Smith LLP Thirty-                                                                  1.60
                                                                   Third Monthly Fee Statement in preparation for
                                                                   electronic filing.
         07/24/23            C.M. LauKamg                          Finalize, electronically file and coordinate service                                                     1.80
                                                                   of USBC SDNY Reed Smith LLP Thirty-Third
                                                                   Monthly Fee Statement and update master files



        File No. 504893.60006                                          Invoice No. 3641890                                                                           Page 2
      20-12345-mg                    Doc 2399                Filed 08/17/23 Entered 08/17/23 18:51:02                                                     Main Document
                                                                        Pg 27 of 27
                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                  599 Lexington Avenue
                                                                                                                                                                             22nd Floor
                                                                                                                                                                   New York, NY 10022
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX



           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




         Date                Timekeeper                            Description                                                                                          Hours

                                                                   and calendar.
         07/26/23            C.M. LauKamg                          Follow up with Accounting Department regarding                                                           0.80
                                                                   status of KCIC Fee Payments and coordinate
                                                                   payments of same.
         07/27/23            C.M. LauKamg                          Follow up with Accounting Department regarding                                                           0.40
                                                                   status of KCIC Fee Payments and coordinate
                                                                   payments of same.
         Total Hours                                                                                                                                                      26.00


        SUMMARY OF PROFESSIONAL SERVICES:

         Timekeeper                                                                                            Hours                         Rate                         Total
         Aaron Javian                                                                              4.60 hrs @ $                1,215.00 / hr                        5,589.00
         Christopher LauKamg                                                                     21.40 hrs @ $                    410.00 / hr                       8,774.00
         Total Professional Services                                                                                                                              14,363.00

        INVOICE SUMMARY

        Total Fees                                                                                                                                    $            14,363.00

        TOTAL CURRENT INVOICE DUE                                                                                                                     $            14,363.00

                                  Total Amount Due                                                                                                    $            14,363.00




        File No. 504893.60006                                          Invoice No. 3641890                                                                           Page 3
